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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

WILLIAM AMES, JR., ET AL,          )
                       PLAINTIFFS, )
                                   )                 C​AUSE​ N​O​. 4:19-CV-00173 SRC
                V​.                )
                                   )                 JURY TRIAL DEMANDED
ST. FRANCOIS COUNTY SHERIFF’S      )
DEPARTMENT, ET AL.,                )
                      DEFENDANTS. )


                            NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that Vincent Colianni, II hereby appears as co-counsel of

record for Plaintiffs William Ames, Jr., Laurie Braun and Estate of William D. Ames, III

in the above-entitled action. Please direct all pleadings and correspondence to the

undersigned.




                                            COLIANNI & COLIANNI, LLC
                                            Attorneys for Plaintiffs William Ames, Jr.
                                            Laurie Braun and Estate of William
                                            D. Ames, III



DATED: February 3, 2020               By:

                                            /s/Vincent Colianni, II
                                            Vincent Colianni, II
                                            V.I. Bar No. 768
                                            2120 Company Street
                                            Christiansted, VI 00820
                                            Telephone: (340) 719-1766
                                            Facsimile: (340) 719-1770
                                            mailbox@colianni.com
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                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 3rd day of February, 2020, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system, which will send a
notification of such filing (NEF) to the following:

William A. Hellmich, #31182MO
Michelle V. Stallings, #57833MO
H​ELLMICH​, H​ILL​ & R​ETTER​, LLC
1049 North Clay Avenue
Kirkwood, MO 63122
314-646-1110 – Phone
314-646-1122 – Fax
bill@hellmichhillretter.com
michelle@hellmichhillretter.com



                                                      /s/Vincent Colianni, II
                                                      Vincent Colianni, II
                                                      2120 Company Street
                                                      Christiansted, St. Croix
                                                      U.S. Virgin Islands 00820
                                                      Telephone: (340) 719-1766
                                                      Fax: (340) 719-1770
